                            UNITED STATES DISTRICT COURT
                                DISTRICT OF NEBRASKA

MIKE BENDFELDT and                          )
BETTY MUHR-BENDFELDT,                       )
                                            )
       Plaintiffs,                          )
                                            )
-vs-                                        ) Case No.
                                            )
WINDOW WORLD, INC., a North                 ) JURY TRIAL DEMANDED
Carolina corporation,                       )
                                            )
and                                         )
                                            )
ASSOCIATED MATERIALS, LLC, a                )
Delaware limited liability company,         )
                                            )
       Defendants.                          )

                                        COMPLAINT


       1.      Plaintiffs Mike Bendfeldt and Betty Muhr-Bendfelt are citizens and residents of

the State of Nebraska. Plaintiffs were previously licensees/franchisees of Defendant Window

World, Inc. with territories in Omaha, Nebraska; Des Moines, Iowa, Denver Colorado; Sioux

Falls, South Dakota; Cedar Rapids, Iowa; Chicago, Illinois; Reno, Nevada; Davenport, Iowa;

Mason City, Iowa; Portland, Oregon; Lincoln, Nebraska; Grand Island Nebraska; Seattle,

Washington; Fargo, North Dakota; and Wichita, Kansas. All license/franchise agreements were

signed by Plaintiffs individually and by various entities which were wholly owned and operated

by them; Those entities listed below and have assigned any interest they may have in these

claims to Plaintiffs Mike Bendfeldt and Betty Muhr-Bendfelt:

       Window World – Cedar Rapids, Inc., Window World – Grand Island, Inc., Window

       World – Mason City, Inc., Window World – North Dakota, Inc., Window World –

       Portland, Inc., Window World – Quad Cities, Inc., Window World – Seattle, Inc.,

                                          Page 1 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 1 of 25
       Window World, Inc., Window World – Lincoln, Inc., Window World – Omaha, Inc., and

       Window World- South Dakota, Inc.

       2.        Defendant Window World, Inc., (“WW”) is a corporation organized and existing

under the laws of the State of North Carolina with its principal place of business in the State of

North Carolina.

       3.        Defendant Associated Materials, LLC (“AMI”) is a limited liability company

organized and existing under the laws of the State of Delaware with its principal place of

business located in the State of Ohio; at all times relevant herein, Defendant AMI operated

under the trade name of Associated Materials, Inc.

                      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       4.        WW is in the business of selling licenses and franchises to individuals and entities

who transact business involving the sale and installation of vinyl replacement windows, doors

and siding to the general public under the name “Window World.”

       5.        WW was founded in 1995 by Leon Whitworth.

       6.        WW operates through a network of licensees/franchisees located throughout the

United States.

       7.        WW sold its first “license” in 1997 and began operations in 1998. By 2010, the

number of WW “licensees” had grown to around 200 locations throughout the country.

       8.        Potential WW licensees were led to believe that by executing a license agreement

with WW for a relatively low “license” fee, they would be part of the WW system, could utilize

the WW name, and would have access to the best pricing for windows and related materials due

to the volume buying power of the WW system.




                                             Page 2 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 2 of 25
         9.      Since at least 2000, Defendant Associated Materials, LLC (“AMI”) has served as

a supplier of vinyl replacement windows to WW licensees/franchisees under AMI’s “Alside”

brand.

         10.     The relationship between WW and AMI grew closer over time until 2007 when

WW designated AMI as the exclusive supplier of windows to WW licensees/franchisees who

were informed by WW that the licensees/franchisees were prohibited from using any alternate

suppliers.

         11.     Upon information and belief, at some point prior to 2007 Leon Whitworth and his

son Todd Whitworth acquired stock ownership interest in AMI.

         12.     In September of 2007, Todd Whitworth acquired WW from Leon Whitworth and

Leon Whitworth’s former wife, Marie Whitworth. The acquisition was accomplished through a

redemption of the WW shares of Leon Whitworth and Marie Whitworth. WW purchased Leon

Whitworth’s shares for $33 million, payable in $3 million in cash and a promissory note calling

for installment payments for the remaining $30 million. WW purchased Marie Whitworth’s

shares pursuant to an agreement to pay her $1 million per year for life. Upon consummation of

these transactions, Todd Whitworth assumed the position of Chief Executive Officer of WW.

         13.     Upon information and belief, in order to obtain the cash needed to complete the

aforementioned purchase of shares, Todd Whitworth secured a loan from AMI.

         14.     At no time did WW disclose to Plaintiffs or other WW licensees/franchisees that

WW owners held stock in AMI or that AMI had loaned money to WW owners.

               PLAINTIFFS ACQUIRED A NUMBER OF WINDOW WORLD LICENSES

         15.     As set forth in the chart below, from 2001-2009 Plaintiffs entered into a series of

“License Agreements” with WW. Prior to and at the time those “License Agreements” were



                                             Page 3 of 25

          Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 3 of 25
executed, WW represented to Plaintiffs that as WW “licensees” they would receive the best

possible pricing for windows base upon WW representations made to them.

           Date of Purchase                         Location                      Date Closed/Sold
       October 16th, 2001                   Des Moines, IA                       2012
       October 16th, 2001                   Omaha, NE                            2013
       April 30th, 2004                     Denver, CO                           2004
       June 20th, 2005                      Sioux Falls, SD                      2013
       June 20th, 2005                      Des Moines, IA                       2012
       (renewal)
       June 20th,2005                       Cedar Rapids, IA                     2012
       February 8th, 2006                   South Cook County, IL                2008
       February 8th, 2006                   North Cook County, IL                2008
       August 8th, 2006                     Reno, NV                             2010
       February 19th, 2007                  Omaha, NE                            2013
       (renewal)
       August 27th, 2007                    Davenport, IA                        2011
       October 8th, 2007                    Portland, OR                         2011
       December 10th, 2007                  Mason City, IA                       2011
       April 15th, 2008                     Lincoln, NE                          2013
       April 15th, 2008                     Grand Island, NE                     2012
       September 30th, 2008                 Seattle, WA                          2011
       June 27th, 2008                      Fargo, ND                            2012
       October 19th, 2009                   Wichita, KS                          2013


       16.      In addition to the Licensing Agreements executed by Plaintiffs, Plaintiffs also

agreed to provide services to the Bismarck, North Dakota WW trade area after the licensee

abandoned the trade area.

       17.      In the fall of 2010, WW approached Plaintiffs to request that they assist WW by

servicing the Bismarck, North Dakota trade area until a permanent licensee could be identified

and placed into that area.

       18.      Plaintiffs agreed to provide such assistance with the understanding that they

would be reimbursed for costs associated with providing such service.

       19.      In fact, Plaintiffs had to hire additional office personnel in order to provide such

services.

                                             Page 4 of 25

            Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 4 of 25
        20.      Plaintiffs provided such services until early 2013.

        21.      Despite repeated assurances from WW, Plaintiffs have never received

reimbursement for the costs associated with services to the Bismarck, North Dakota trade area.

          I.       WW Knowingly and Intentionally Failed to Make Required Franchise
                   Disclosures to Plaintiffs and other Window World franchisees

        22. In its agreements with individuals and/or entities who have licensed Window

World trademarks from WW, WW has specifically structured its relationship in a manner

clearly and commonly associated with franchise agreements.

        23.      WW acknowledges and admits that its relationships with business dealers to

whom it licenses Window World trademarks are, and always have been, business relationships

in which a franchisor licenses the right to use trademarks to franchisees, thereby creating

franchise agreements under federal law, which affords special protections to franchisees such

as Plaintiffs.

        24.      Moreover, throughout the period that WW was selling franchises to Plaintiffs,

and others, WW knew that in fact it was selling franchises and knew that, as a result, it was

obligated to meet certain statutory obligations, both state and federal, that apply to franchisors

and to those in the business of selling franchises. WW's directors and upper management,

including Leon Whitworth, Todd Whitworth, and Tammy Whitworth, at all times knew that

WW's relationship with its dealers was that of franchisor-franchisee and that WW was

therefore bound to make certain disclosures under federal and state law and to comply with

other federal and state law that govern franchisors.

        25.      Among these is the requirement under federal law that franchisors make a

battery of disclosures to persons considering whether to enter into a franchise agreement,


                                             Page 5 of 25

          Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 5 of 25
which is set out at 16 C.F.R. § 436.1, et seq. (the "Franchise Disclosure Rule"). These

franchise disclosure rules apply to franchisors, such as WW, and exist to provide transparency

that protects franchisees, such as Plaintiffs, who otherwise suffer from inferior bargaining

power vis-a-vis trademark owners who seek to induce others to enter into franchise

relationships.

       26.       The Franchise Disclosure Rule specifically provides that a franchisor's failure to

comply with the rule constitutes an unfair or deceptive trade practice.

       27.       WW has always met the definition of a "franchisee seller" and a "franchisor"

under the Franchise Disclosure Rule, and its relationship with the Window World franchisees,

including Plaintiffs, has always met the rule's definition of a "franchise." WW and its upper

management were at all times aware of these facts and that WW had disclosure obligations under

federal law.

       28.       The disclosures required under the Franchise Disclosure Rule include a range of

financial information about the franchisor and existing franchisees, as well as information on·

over twenty discrete topics, which include the following:

       a.        The initial fees and any conditions under which these fees are refundable, as well

as the formula used to calculate initial fees that are not uniform and the factors that determine

the amount of the fees. See 16 C.F.R. § 436.5(e).

       b.        All other fees that the franchisee must pay to the franchisor.       See 16

C.F.R. § 436.5(f).

       c.        The franchisee's estimated initial investment. See 16 C.F.R.. § 436.5(g).

       d.        Important provisions of the franchise, including length of the term, renewal of the

term, choice-of-forum clauses, and choice-of-law clauses.        See 16 C.F.R.§ 436.5(q)


                                              Page 6 of 25

            Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 6 of 25
       e.       Substantial information about the trademarks licensed to the franchisee. See

16 C.F.R. § 436.5(m).

       f.       The franchisee's obligation, if any, to purchase goods from a particular vendor or

supplier in operating the franchised business. See 16 C.F.R. § 436.5(h).

       g.       For mandated suppliers, identification of any supplier in which an officer of

the franchisor owns an interest, and of any supplier from whom the franchisor will or may

derive revenue or other material consideration by virtue of franchisees being required to

make purchases from that supplier. See 16 C.F.R. § 436.5(h)(3), (6), (8).

       29.      The Franchise Disclosure Rule also requires that before any franchisor

unilaterally and materially alters the terms of the basic franchise agreement, it must furnish

a copy of the revised agreement at least seven days before execution of the document.

       30.      A number of states also have their own disclosure requirements applicable to

franchisors and require franchisors to register their franchise offerings with certain state

agencies before offering the franchises for sale.

       31.      Despite its knowledge of the obligations WW owed as a franchisor to its

franchisees and prospective franchisees, WW knowingly, intentionally, and in bad faith failed

to make the disclosures required under the federal Franchise Disclosure Rule, both in

conjunction with offering new franchise agreements to prospective franchisees, including

Plaintiffs, and in conjunction with offering to renew franchise agreements with current and

former franchisees, including Plaintiffs.

       32.      At no point prior to Plaintiffs' execution of any of the "Licensing

Agreements" did WW made any effort to comply with these obligations in marketing

Window World franchises to potential franchisees, including Plaintiffs, and in structuring


                                            Page 7 of 25

            Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 7 of 25
its relationships with franchisees, including Plaintiffs. In particular, WW knowingly and

intentionally sold Window World franchises to Plaintiffs and others, and submitted new and

materially different franchise agreements to Plaintiffs and other existing Window World

franchisees for execution, without making the disclosures required by the Federal Disclosure

Rule. For example, WW's upper management, including Todd Whitworth, participated in

internal meetings in which it was acknowledged that WW's relationship with its dealers

was that of franchisor-franchisee, not licensor-licensee.

        33.     As a result of this misconduct, a number of States have entered orders enjoining

WW from selling unregistered franchises. By way of example and without limitation, WW has

entered into consent orders in California, Illinois, Washington, Minnesota, Maryland, and

Virginia, which in some cases impose civil penalties against WW in addition to requiring WW to

offer rescission as part of the injunctive relief prescribed.

        34.     With respect to each sale of a Window World franchise to Plaintiffs between 2001

and 2009, WW knowingly, intentionally, and in bad faith failed to comply with the Franchise

Disclosure Rule, in form and in substance.

        35.     WW failed to meet its disclosure obligations so as to keep hidden from its

franchisees and potential franchisees, including Plaintiffs, a range of information about the true

nature of the financial arrangement between WW and its franchisees, the true nature of the

arrangements between WW and the suppliers required to be used by the franchisees, the true nature,

scope, and extent of the revenues WW collects as franchisor from its franchisees, and the

true nature of the trademarks licensed to WW's franchises.

        36.     WW initially provided lists of approved suppliers to its franchisees, and that

included more than one supplier for windows. For example, on January 22, 2007, Todd



                                              Page 8 of 25

          Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 8 of 25
Whitworth wrote to all Window World franchisees, informing them that along with caulking,

printing, and promotional materials, “other products such as windows, siding and related

materials, doors, gutter, gutter protections, and financing must be purchased from the approved

vendor. While enforcement of this as it relates to many products has been ignored in the past it

will not be in the future." The list provided with Whitworth's included AMI and "Xact/MI" as

approved suppliers of windows and patio doors.

        37.     Later in 2007, WW announced that it was moving to a "sole source" supplier of

windows and thereafter required that its franchisees purchase vinyl replacement windows only

from AMI. A f t e r t h a t t i m e , P laintiffs made their wholesale window purchases

exclusively from AMI.

        38.     Although unknown to Plaintiffs until recently, WW receives a substantial portion

of the purchase price its franchisees pay to WW-designated suppliers, including AMI, for

products and certain options on those products. AMI and WW's other designated suppliers

provide these sums in the form of a kickback or rebate. For example, WW received

approximately $24 million annually in revenue from WW-designated suppliers in 2011-2013 in

the form of kickbacks or rebates. These amounts result from per-unit rebates provided by the

designated supplier with respect to windows, patio doors, siding, and other products, as well as

certain options to windows and patio doors, including "LowE," screens, interior laminates, grids,

and colors. These undisclosed rebates can total, in the aggregate, more than $30 per window and

thus in some cases may exceed the Window World franchisee's margin on the sale of the

window at retail. Over the relevant time period, these kickbacks and rebates supplied nearly all

the revenue that WW has collected in the course of its franchising business and totals tens of

millions of dollars.



                                           Page 9 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 9 of 25
       39.     In addition to providing a substantial financial benefit to WW, these undisclosed

kickbacks and rebates have inflicted substantial financial harm upon its franchisees by artificially

inflating the wholesale price they pay for the products they sell and install. Upon information

and belief, the kickbacks and rebates WW receives represent all or a portion of the volume

discount Plaintiffs and other Window World franchisees would otherwise receive from WW-

designated suppliers, including AMI, as a rebate. Thus, in substance and effect it is Plaintiffs

and other Window World franchisees who pay as undisclosed commissions the amounts that

WW receives from its designated suppliers in the form of these kickbacks and rebates.

       40.     Despite the fact that information concerning any financial benefits a franchisor

receives as a result of purchases made by its franchisees is a required disclosure item under the

Franchise Disclosure Rule, WW failed to disclose these kickback and rebates to Plaintiffs and

other Window World franchisees. In fact, upon information and belief, WW's directors and

upper management expressly decided not only that WW would not make these required

disclosures but also that WW would hide from its franchisees the undisclosed commissions they

pay and the undisclosed kickbacks and rebates WW receives from the suppliers. By way of

example and without limitation, WW made no disclosure of and instead hid from its franchisees

the amount of the rebates, the manner in which the rebates were calculated, the products on

which rebates were collected, the portions of the purchase prices paid by its franchisees that

constitute the rebates, the negotiations underlying the rebates, and the impact of the rebates on

the cost of goods sold by its franchisees.

       41.     WW failed to m ake its required disclosures (including disclosure of these

kickbacks and rebates it was receiving on purchases from AMI and other WW-designated

suppliers).



                                             Page 10 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 10 of 25
       42.     In addition to failing to disclosure the nature and extent of the kickbacks

or rebates paid by WW's designated suppliers to WW on purchases made from those

suppliers by Plaintiffs and other Window World franchisees, WW also failed to disclose other

payments made by WW's designated suppliers to WW, including marketing fund payments

and contributions to the Window World family reunion and other Window World events and

meetings.

       43.     In addition to the foregoing misrepresentations and omissions of material

information with respect to the financial aspects of WW's relationship with its franchisees,

WW also failed to disclose the stock interests that its principals held in AMI and the loan

AMI made.

       44.     WW, in bad faith, took affirmative steps to hide from Window World franchisees

and potential Window World franchisees, including the Plaintiffs, that WW owed them

obligations under federal law as a franchisor. For example, even though WW knew that it was

selling franchises to Plaintiffs and other persons, WW cast the franchise agreements it presented

to potential franchisees, including the Plaintiffs, as "Licensing Agreements" and purported to

disclaim its status as a franchisor in those agreements.

       45.     Those agreements, which were prepared by WW and not subject to negotiation,

indicated that the business relationship between WW and its franchisee was merely that of a

licensor of Window World trademarks and its licensee and that "[n]othing in this Licensing

Agreement shall be deemed to create any type of partnership, employment, agency, franchise, or

other business relationship other than LICENSOR and LICENSEE." The agreement went on to

disclaim any obligation for WW to comply with "statutes, codes, or law and regulations which

govern franchises."


                                            Page 11 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 11 of 25
       46.     WW knew that these assertions in its agreements were false and that it indeed was

engaged in the business of selling franchises and was obligated to comply with "laws and

regulations" governing the franchise relationship, including the Franchise Disclosure Rule.

       47.     However, it was not until after Plaintiffs executed the various "Licensing

Agreements" described above that WW attempted to make any disclosure to its franchisees and

potential franchisees concerning the true nature of the financial arrangement between WW and

its franchisees and the true nature, scope, and extent of the revenues WW collects as franchisor

from its franchisees. Instead, WW kept secret from Plaintiffs and other Window World

franchisees material financial information about the franchise relationship, including the

undisclosed amounts WW collected off of the purchases its franchisees made from WW-

designated suppliers, including AMI until sometime after October 28th, 2011.

       48.     WW has admitted to Window World franchisees, including Plaintiffs, that it was

operating illegally before it began making any of the disclosures required by the Franchise

Disclosure Rule. By way of example and without limitation, Mark Bumgartner made such an

admission at an Advisory Council meeting in August 2014.

       49.     WW took the foregoing actions in bad faith so as to fraudulently induce its

prospective franchisees, including Plaintiffs, to purchase Window World franchises and in order

to fraudulently induce existing Window World franchisees to execute renewal "Licensing

Agreements."

       50.     WW’s withholding of information that was required to be disclosed under federal

law caused Plaintiffs to be ill-informed and fraudulently induced Plaintiffs to execute

"Licensing Agreements" with WW.

       51.     The foregoing failures by WW to meet its obligations as a seller of franchises, as

well as its affirmative misrepresentations and material omissions, constitute unfair or deceptive
                                           Page 12 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 12 of 25
trade practices, fraudulent misrepresentations, fraudulent omissions, and negligent

misrepresentations and have caused injury to Plaintiffs.

       52.     WW withheld from Plaintiffs material information concerning the franchise

relationship, intending that Plaintiffs would rely upon those material omissions by acquiring

franchises from WW and continuing to operate those franchises. Plaintiffs reasonably relied to

their detriment on WW's material omissions by paying substantial sums to acquire franchises, by

paying inflated wholesale prices thereafter that resulted in funds flowing through to WW, and by

expending millions of dollars advertising Window World trademarks, all of which benefitted

WW substantially.


        II.     WW Failed to Meet Its Obligation to Secure Superior Wholesale Pricing
                       for Plaintiffs and other Window World franchisees

       53.     As a result, Plaintiffs reasonably formed the expectation that WW, as the

franchisor of the Plaintiffs’ franchisees, would secure pricing that was more favorable than

what would otherwise be available in the market.

       54.     The "Licensing Agreements" that Plaintiffs executed specifically provided that

WW "shall endeavor to arrange for the supply of the items to LICENSEE at prices which are

less than those charged to non-licensees within the trade area herein defined." These

agreements further provided that WW "shall use its best efforts to assist LICENSEE in any

reasonable manner so as to maintain and, where appropriate, improve upon, the quality,

efficiency, and profitability of the operation."

       55.     As it turned out, WW has failed to meet its commitment to secure superior

wholesale pricing for its franchisees, including the Plaintiffs’ franchises. On the contrary,

the amounts these franchisees pay and have paid to their vinyl replacement window supplier,



                                           Page 13 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 13 of 25
AMI, exceed the amounts they would otherwise pay to AMI and to suppliers of comparable

products in the relevant markets were they not Window World franchisees. Similarly, the

amounts these franchisees pay and have paid to the suppliers of various related accessory

products exceed the amounts they would otherwise pay to suppliers of comparable products in

the relevant markets were they not Window World franchisees.

       56.    For example, representatives of AMI have admitted that it has sold windows to

non-WW retailers at prices lower than those charged to Window World franchisees.

       57.    In addition, a former AMI representative has indicated that a window retailer

in the Midwest purchases Alside's 4000 windows with LowE/argon for $120, which is

cheaper per unit than the price AMI charges the Plaintiffs for the same product.

       58.    In addition, another Window World franchisee received in June 2012 an

invoice from AMI that was intended for another AMI purchaser. The invoice, dated June

11, 2012 and addressed to a window retailer with multiple store locations in the Midwest,

reflected a price for Alside's 0201 windows with ETC liners and Climatech-Plus that was

$29.74 cheaper per unit than the price AMI charges Window World franchisees for the

same product. This differential increases the cost of goods sold by the Plaintiffs’ franchises

by more than $1 million per year.

       59.    The above-market amounts the Window World franchisees have been required

to pay to AMI for vinyl replacement windows result from an unlawful contract, combination,

and/or conspiracy between WW and AMI.

       60.    In addition to above-market prices Window World franchisees have been

required to pay - and continue to pay up to the present - for vinyl replacement windows,



                                          Page 14 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 14 of 25
they have also been required to pay above-market amounts to AMI and other suppliers for

various other- products, including caulk, doors, siding, and garage doors.

       61.      The above-market prices for these additional products further demonstrate

that WW failed to meet its obligation to secure superior wholesale pricing for its franchisees.

             III.   WW Fraudulently Misrepresents the Pricing Levels Available to and
                                    Achieved by Plaintiffs

       62.      Window World franchisees purchase the products t hey sell and install from

suppliers designated by WW and at prices dictated by WW.

       63.      WW consistently represented to Window World franchisees, including

Plaintiffs, that WW had two tiers of dealer pricing for window purchases from AMI. The

pricing levels were known as "A" pricing and "B" pricing, with "B" pricing being the more

favorable pricing level. WW also consistently represented to Window World franchisees,

including Plaintiffs franchises, that if a Window World franchisee hit certain performance

benchmarks by reaching a defined volume of unit sales in a month it would be entitled to

preferential pricing from AMI.

       64.      For example, on February 7, 2008, Todd Whitworth of WW wrote to Window

World franchisees and stated that "we have decided to change the sales levels for A and B

pricing to more accurately reflect market sizes for our stores." Whitworth went on to state that

WW was creating effective March 1, 2008 two different volume targets, based on market size,

for achieving preferred pricing, stating that "it just isn't fair that Foothills (population 300,000)

and Tidewater (population 1,350,000) should both have to sell 500 windows to achieve B

pricing."

       65.      Similarly, the Owner's Manual that WW distributed to its franchisees indicated

that WW's "AMI Price List" contained "Prices for AMI products A & B Pricing." The manual
                                             Page 15 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 15 of 25
went on to state that WW's "AMI Multipliers" list contained "Multipliers to be used on AMI

catalog products not covered by Window World A & B pricing."

       66.     Similarly, on March 30, 2011, Dana Deem of WW wrote to various WW

representatives and franchisees, stating "I have attached the new A & B Price sheets and

multipliers that go into effect on orders placed April 4, 2011 and thereafter. Please print the

applicable sheets and multipliers for your market and place in your SOP manual for future

reference." Representatives from AMI were also copied on Deem's email message.

       67.     WW made these representations and many other representations that were the

same in substance to Window World franchisees on a uniform basis.

       68.     Various representatives of WW, including Leon Whitworth, Todd Whitworth,

Blair Ingle, and Dana Deem, consistently represented to P l a i n t i f f s , and to Window World

franchisees generally that "B" pricing was the most favorable pricing and would be available to a

Window World franchisee if it achieved a certain volume of unit sales in a month.

       69.     Representations of this sort were made uniformly to Window World franchisees

on a monthly basis throughout the relevant time period.

       70.     With these and other similar representations, WW deceived Window World

franchisees, including Plaintiffs, telling them that they were entitled to receive, and in fact would

receive and were receiving, the best available pricing on windows if they hit the specified

performance benchmarks. In fact, these representations were false.

        IV.     WW Enters into an Unlawful Contract, Combination, or Conspiracy with
                         AMI to Set Prices and in Restraint of Trade

       71.     In 2007, WW through Todd Whitworth and other representatives entered into

discussions with AMI about the wholesale prices charged to Window World franchisees and

the kickback WW received on those sales. The product of those discussions was a


                                             Page 16 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 16 of 25
combination, contract, and/or conspiracy among WW and AMI to increase the price Window

World franchisees, including the Plaintiffs, would pay to AMI, to increase the undisclosed

revenue that WW collected from each purchase its franchisees made from AMI, and to

require that Window World franchisees purchase only from AMI.

       72.     In particular, in exchange for WW committing to have its franchisees

purchase products at wholesale only from AMI and at prices that were higher than they

were currently paying, the kickback WW received off of those purchases would increase.

This arrangement materially increased the volume of AMI's sales to WW's franchisees, which

resulted in substantial increases in income for both AMI and WW.

       73.     For example, in 2011, 2010, 2009, and 2008, AMI's sales to WW and its

franchisees represented approximately 13%, 14%, 13%, and 11% of its total net sales,

respectively. This represented a marked increase from AMI's customers in prior years, when no

individual customer accounted for 10% or more of AMI's total net sales.

       74.     After this agreement was reached, WW announced to its franchisees during the

2007 WW "family reunion" that it would be moving to AMI as the "sole source" supplier of

windows within the WW network.

       75.     While this arrangement enriched AMI and WW, it harmed competition and

injured Window World franchisees.

       76.     To begin with, this contract, combination, and/or conspiracy meant that the

Window World franchisees, including Plaintiffs, were not receiving superior pricing in their

markets. Instead, they paid inflated prices resulting from an arrangement that secured capital

and increased cash flow to WW while securing a larger customer base at a higher price for AMI.




                                           Page 17 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 17 of 25
       77.     The Window World franchisees, including Plaintiffs, were also injured because

the contract, combination, and/or conspiracy between WW and AMI reflected price maintenance

that benefitted WW and AMI while hurting the Window World franchisees, who were AMI's

customers.

       78.     The arrangement between WW and AMI also meant that AMI was insulated

from the forces of competition by preventing Window World franchisees from seeking

other, and more economic, sources for the products they sold at retail. The arrangement locked

in place a substantial volume of purchasers at a fixed price, while preventing them from seeking

alternative suppliers, which would work to drive prices lower in the marketplace.

       79.     The Window World franchisees, including Plaintiffs, were also injured

because the arrangement between WW and AMI resulted in an economic transfer from

Window World franchisees to WW and AMI. As alleged herein, the arrangement resulted

in higher wholesale prices paid by the Window World franchisees. That, combined with the

fact that WW fixed the retail price at which its franchisees could sell their products, meant

that the arrangement between WW and AMI eroded the margins of the Window World

franchisees while enriching WW and AMI.

       80.     WW benefitted from its arrangement with AMI through the increased

kickbacks and rebates it received. By withholding material information from the Window

World franchisees and by misrepresenting to them the quality of the pricing they would

have access to as Window World franchisees, WW induced Window World franchisees,

including the Plaintiffs, to pay millions advertising the Window World trademarks. This

advertising increased goodwill in Window World trademarks and therefore increased the

potential value of other Window World franchises that WW sold and exploited as sources of

income.
                                           Page 18 of 25

          Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 18 of 25
        81.    These hidden payments and the secret arrangements between WW and AMI

should have been disclosed pursuant to the Franchise Disclosure Rule, but WW failed to do

so with respect to the "Licensing Agreements" Plaintiffs executed. Instead, WW withheld this

material information from Plaintiffs with the intent that they rely to their detriment on WW's

material omissions.

                   V. Fraudulent Concealment – Tolling of Statute of Limitations

        76.    Throughout the relevant period set forth herein, Defendants affirmatively and

fraudulently concealed their wrongful conduct from Plaintiffs and all other WW

licensees/franchisees.

        77.    Plaintiffs and all other WW licensees/franchisees did not discover and could not

discover through the exercise of reasonable diligence that Defendants were violating the law as

alleged herein until after Defendant WW admitted that it had been operating as a franchisor in

violation of the laws of the United States and several states and finally disclosed the nature and

extent of the rebates it was receiving from Defendant AMI. Such disclosure did not occur until

sometime after October 28, 2011. Plaintiffs and all other WW licensees/franchisees could not

have discovered the violations any earlier that that time because Defendants conducted their

conspiracy in secret, concealed the nature of their unlawful conduct and acts in furtherance

thereof, and fraudulently concealed their activities through various other means and methods

designed to avoid detection. In addition, the conspiracy between the Defendants was by its

nature self-concealing.

        78.    As a result of Defendants’ fraudulent concealment of their conspiracy, Plaintiffs

assert the tolling of any applicable statutes of limitation affecting the rights of action of

Plaintiffs.


                                            Page 19 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 19 of 25
                                                  COUNT I

                        (Violation of the Robinson-Patman Act, 15 U.S.C. §13)

               Come now Plaintiffs and for Count I of their cause of action against Defendants

Window World, Inc. and Associated Materials, LLC and state as follows:

       79.      Plaintiffs re-allege and incorporate by reference as if fully set forth herein,

paragraphs 1 - 78 of Plaintiffs’ complaint.

       80.     The Robinson-Patman Act, 15 U.S.C. § 13 (the “Act”) provides in relevant part as

follows:

       It shall be unlawful for any person engaged in commerce…to discriminate in price
       between different purchasers of commodities of like grade and quality…where the effect
       of such discrimination may be to substantially lessen competition and tend to create a
       monopoly in any line of commerce, or to injure, destroy or prevent competition with any
       person who either grants or knowingly received the benefit of such discrimination, or
       with customers of either of them.

       81.     Defendant AMI is engaged in commerce throughout the United States in the sale

of vinyl replacement windows.

       82.     The windows sold by Defendant AMI were “commodities” within the meaning of

the Robinson-Patman Act.

       83.     Plaintiffs and all other WW “licensees” were purchasers of commodities as

defined by the Act.

       84.      Defendant AMI discriminated in the price of vinyl replacement windows sold to

WW “licensees” and charged higher prices to such purchasers than to WW competitors in the

market for replacement windows of like grade and quality.

       85.     Defendant charged such higher prices in order to provide kickbacks and other

undisclosed payments to WW and its owners.




                                              Page 20 of 25

           Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 20 of 25
       86.     The higher prices charged to Plaintiffs and other WW “licensees” injured

competition among the customers of Defendant AMI who purchased replacement windows.

       87.     Defendant WW conspired with AMI to discriminate in the pricing offered to WW

“licensees” and knowingly received the benefit of such discrimination in the form of kickbacks

and payments it received from Defendant AMI which were not disclosed to WW “Licensees.”

       88.     Plaintiffs and other WW “licensees” were injured by such conduct in that the

injury to competition affected their profit margins due to the increased prices charged by

Defendant AMI to Plaintiffs and other WW “licensees” for replacement windows.

       89.     The sole purpose of the increased prices was to enable to Defendant AMI to

provide undisclosed kickbacks to Defendant WW.

       WHEREFORE, for the foregoing reasons, Plaintiffs pray judgment against Defendants

for treble damages in excess of Seventy-Five Thousand Dollars ($75,000.00), an award of

attorneys’ fees, and for such other relief the court deems just and proper.

                                                  Count II
                                                  (Fraud)

               Come now Plaintiffs and for Count II of their cause of action against Defendant

Window World, Inc. state as follows:

       90.      Plaintiffs re-allege and incorporate by reference as if fully set forth herein,

paragraphs 1- 78 of Plaintiffs’ Complaint.

       91.     Plaintiffs executed a series of “Licensing Agreements” with Defendant Window

World, Inc.

       92.     In those Licensing Agreements, Plaintiffs agreed “that it will sell and install only

and exclusively those products, goods, equipment, and parts from vendors approved by

LICENSOR.”

                                             Page 21 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 21 of 25
       93.     In exchange, Defendant Window World, Inc. represented to Plaintiffs that

“LICENSOR shall endeavor to arrange for the supply of the items to LICENSEE at a prices

which are less than those charged to non-licensees within the trade area herein defined.”

       94.     In addition, Defendant WW represented to Plaintiffs and other WW “licensees”

that they were entering into “Licensing Agreements” while knowing that the relationship was

actually a franchise relationship and that the laws of the United States and several states in which

Defendant WW operated required certain disclosures which Defendant willfully chose to ignore.

       95.     At the time that Defendant Window World, Inc., made the aforementioned written

representations in each of the Licensing Agreements executed by Plaintiffs, it knew the

representations were false at least regarding the replacement windows supplied by AMI in that

Defendant Window World, Inc. knew that due to the rebates and kickbacks paid to Defendant

Window World, Inc. by AMI that the prices charged to Window World licensees/franchisees for

replacement windows actually exceeded the prices charged to non-licensees for the same

window and it knew that it was operating as a franchisor but was not in compliance with

regulations of the Federal Trade Commission and several state agencies.

       96.     Plaintiffs were induced into entering the Licensing Agreement because they

believed that as a licensee of Defendant Window World, Inc. they would receive beneficial

pricing for replacement windows and that there were no other undisclosed fees.

       97.     Plaintiffs justifiably relied upon the representations made by Defendant in the

Licensing Agreements in making their decision to execute the Licensing Agreements.

       98.     That as a direct and proximate result of the fraudulent misrepresentations made by

Defendant Window World, Inc. to induce Plaintiffs to enter into the Licensing Agreements

Plaintiffs sustained damage in that the prices they were required to pay to required suppliers as



                                           Page 22 of 25

        Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 22 of 25
mandated by Defendant were higher than what Plaintiffs would have paid had they not entered

into Licensing Agreements with Defendant.

        WHEREFORE, for the foregoing reasons, Plaintiffs pray judgment against Defendant

Window World, Inc., for damages in excess of Seventy-Five Thousand Dollars ($75,000..00), an

award of punitive damages, their costs herein expended, and for such other relief the court deems

just and proper.

                                                   Count III

                               (Breach of Contract – Licensing Agreements)

                 Come now Plaintiffs and for Count III of their cause of action against Defendant

Window World, Inc., state as follows:

        99.      Plaintiffs re-allege and incorporate by reference as if fully set forth herein

Paragraphs 1 to 78 of Plaintiffs’ Complaint.

        100.     Pursuant to the Licensing Agreements executed by and between Plaintiffs and

Defendant, Defendant agreed that it “shall endeavor to arrange for the supply of the items to

LICENSEE at prices which are less than those charged to non-licensees within the trade area…”

        101.     Defendant breached the duty owed to Plaintiffs under the foregoing provisions of

the Licensing Agreement in that Defendant did not “endeavor” to arrange for pricing of supplies

such as replacement windows which were less than the prices charged to non-licensees in the

trade areas operated by Plaintiffs.

        102.     As a result of Defendant’s breach of the Licensing Agreements as aforesaid,

Plaintiffs were damaged in that the prices charged to them for supplies such as replacement

windows were higher than were charged to Plaintiffs’ competitors within the trade areas operated

by Plaintiffs.



                                              Page 23 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 23 of 25
        WHEREFORE, for the foregoing reasons, Plaintiffs pray judgment against Defendant

Window World, Inc., in a sum that is fair and reasonable in excess of Seventy-Five Thousand

Dollars ($75,000.00), their costs herein expended, and for such other relief the Court deems just

and proper.

                                                 Count IV

                             (Breach of Contract – Bismarck Trade Area)

               Come now Plaintiffs and for Count IV of their cause of action against Defendant

Window World, Inc., state as follows:

        103.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein

Paragraphs 1 to 78 of Plaintiffs’ Complaint.

        104.   Plaintiffs and Defendant had a verbal agreement whereby Plaintiffs agreed to

provide services to the Bismarck, North Dakota trade area after the licensee abandoned that trade

area.

        105.   In exchange for Plaintiffs providing those services, Defendant agreed to

reimburse Plaintiffs for all costs associated with providing such services.

        106.   Plaintiffs fully performed under the verbal agreement between the parties.

        107.   Plaintiffs incurred costs in excess of $100,000.00 as a result of providing services

pursuant to the agreement of the parties.

        108.   That despite repeated demand, Defendant has failed and refused to pay Plaintiffs

for the services provided by Plaintiffs to the Bismarck, North Dakota Trade Area.

        WHEREFORE, for the foregoing reasons, Plaintiffs pray judgment against Defendant in

a sum that is fair and reasonable in excess of Seventy-Five Thousand Dollars ($75,000.00), their

costs herein expended and for such other relief the Court deems just and proper.



                                            Page 24 of 25

         Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 24 of 25
                             Demand for Jury Trial

Plaintiffs hereby demand trial by jury on all counts of their complaint.




                                       Respectfully submitted,


                                      _/s/ Jonathan E. Fortman_____________
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                                   Page 25 of 25

 Case 5:17-cv-00039-GCM Document 1 Filed 10/16/15 Page 25 of 25
